          Case 1:19-cv-00742-LKG Document 17 Filed 05/23/19 Page 1 of 1




           In the United States Court of Federal Claims
                                               )
 SPACE EXPLORATION                             )
 TECHNOLOGIES CORP.,                           )
                                               )
        Plaintiff,                             )               No. 19-742C
                                               )
 v.                                            )               Filed May 23, 2019
                                               )
 THE UNITED STATES,                            )
                                               )
        Defendant.                             )
                                               )
 v.                                            )
                                               )
 BLUE ORIGIN, LLC, et al.,                     )
                                               )
        Defendant-Intervenors.                 )
                                               )

                                             ORDER

       On May 22, 2019, Orbital Sciences Corporation (“Orbital”) filed an unopposed motion to
intervene in the above-captioned post-award bid protest matter, pursuant to Rule 24 of the Rules
of the United States Court of Federal Claims (“RCFC”) (docket entry no. 13). Orbital represents
that it has a direct and immediate economic interest in the Court’s resolution of this bid protest.
And so, for these reasons, the Court GRANTS Orbital’s motion to intervene. RCFC 24(a)(2).

       IT IS SO ORDERED.



                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   Judge
